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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA

                                           CASE NO.:

DEBORAH LAUFER, an individual,
         Plaintiff,
v.

Marina Bay Resort Condominium Association, Inc., a Florida Not for Profit corp.,
             Defendant(s).
                                //

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

Marina Bay Resort Condominium Association, Inc. (sometimes referred to as “Defendant”), for

Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

       1.      Plaintiff is a resident of Alachua County, Florida, is sui juris, and qualifies as an

individual with disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

activity of walking more than a few steps without assistive devices. Instead, Plaintiff is bound to

ambulate in a wheelchair or with a cane or other support and has limited use of her hands. She is

unable to tightly grasp, pinch and twist of the wrist to operate. Plaintiff is also vision impaired.

When ambulating beyond the comfort of her own home, Plaintiff must primarily rely on a

wheelchair. Plaintiff requires accessible handicap parking spaces located closest to the entrances

of a facility. The handicap and access aisles must be of sufficient width so that she can embark and

disembark from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

goods and services of a facility must be level, properly sloped, sufficiently wide and without
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cracks, holes or other hazards that can pose a danger of tipping, catching wheels or falling. These

areas must be free of obstructions or unsecured carpeting that make passage either more difficult

or impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

difficulty operating door knobs, sink faucets, or other operating mechanisms that tight grasping,

twisting of the wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as such

pose a danger of scraping or burning her legs. Sinks must be at the proper height so that she can

put her legs underneath to wash her hands. She requires grab bars both behind and beside a

commode so that she can safely transfer and she has difficulty reaching the flush control if it is on

the wrong side. She has difficulty getting through doorways if they lack the proper clearance.

        2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

"tester" for the purpose of asserting her civil rights and monitoring, ensuring, and determining

whether places of public accommodation and their websites are in compliance with the ADA.

        3.      According to the county property records, Defendant owns a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

36.201(a) and 36.104. The place of public accommodation that the Defendant owns is a place of

lodging known as Marina Bay Resort, and is located in the County of , (hereinafter "Property").

        4.      Venue is properly located in the Northern District of Florida because the injury

occurred in this district.

        5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

        6.      As the owner of the subject place of lodging, Defendant is required to comply with

the ADA. As such, Defendant is required to ensure that it's place of lodging is in compliance with
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the standards applicable to places of public accommodation, as set forth in the regulations

promulgated by the Department Of Justice. Said regulations are set forth in the Code Of Federal

Regulations, the Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the

2010 ADA Standards, incorporated by reference into the ADA. These regulations impose

requirements pertaining to places of public accommodation, including places of lodging, to ensure

that they are accessible to disabled individuals.

       7.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

requirement:

       Reservations made by places of lodging. A public accommodation that owns,
       leases (or leases to), or operates a place of lodging shall, with respect to
       reservations made by any means, including by telephone, in-person, or through a
       third party -

               (i) Modify its policies, practices, or procedures to ensure that individuals
               with disabilities can make reservations for accessible guest rooms during
               the same hours and in the same manner as individuals who do not need
               accessible rooms;

               (ii) Identify and describe accessible features in the hotels and guest rooms
               offered through its reservations service in enough detail to reasonably
               permit individuals with disabilities to assess independently whether a
               given hotel or guest room meets his or her accessibility needs;

               (iii) Ensure that accessible guest rooms are held for use by individuals with
               disabilities until all other guest rooms of that type have been rented and
               the accessible room requested is the only remaining room of that type;

               (iv) Reserve, upon request, accessible guest rooms or specific types of
               guest rooms and ensure that the guest rooms requested are blocked and
               removed from all reservations systems; and

               (v) Guarantee that the specific accessible guest room reserved through its
               reservations service is held for the reserving customer, regardless of
               whether a specific room is held in response to reservations made by others.

       8.      These regulations became effective March 15, 2012.
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        9.     Defendant, either itself or by and through a third party, implemented, operates,

controls and or maintains websites for the Property which contains an online reservations system.

These         websites      are       located       at       http://marinabayfla.com/        and

https://www.booking.com/hotel/us/marina-bay-resort.html;

        10.    https://www.expedia.com/Fort-Walton-Beach-Destin-Hotels-The-Suites-At-

Marina-Bay.h1855967.Hotel-Information;              https://www.hotels.com/ho362937/?q-check-

out=2019-10-08&FPQ=3&q-check-in=2019-10-07; https://www.orbitz.com/Fort-Walton-Beach-

Destin-Hotels-The-Suites-At-Marina-Bay.h1855967.Hotel-

Information?chkin=10%2F7%2F2019&chkout=10%2F8%2F2019;https://www.agoda.com/mari

na-bay-resort/hotel/fort-walton-beach-fl-us.html?cid=-218;

https://www.priceline.com/relax/at/18947204/from/20191007/to/20191008/rooms/1/?preferredho

telids=18947204. This term also includes all other websites owned and operated by Defendant or

by third parties to book or reserve guest accommodations at the hotel. The purpose of these

websites is so that members of the public may reserve guest accommodations and review

information pertaining to the goods, services, features, facilities, benefits, advantages, and

accommodations of the Property. As such, these websites are subject to the requirements of 28

C.F.R. Section 36.302(e).

        11.    Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

purpose of reviewing and assessing the accessible features at the Property and ascertain whether

they meet the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs. However,

Plaintiff was unable to do so because Defendant failed to comply with the requirements set forth

in 28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the same goods, services,
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features, facilities, benefits, advantages, and accommodations of the Property available to the

general public.

       12.        Specifically,

   a. www.booking.com - This website does not identify or allow for booking of accessible
      rooms and provides insufficient information regarding accessible features in the rooms or
      the hotel.
   b. www.expedia.com – This website does not provide an option to book an accessible room.
      Hotel amenities, room types and amenities are all listed in detail. No information ws given
      bout accessibility in the hotel other than the statement “Accessible bathroom”.
   c. www.hotels.com – This website does not identify or allow for booking of accessible rooms
      and provides insufficient information regarding accessible features in the rooms or the
      hotel other than statements “Accessible bathroom” and “Disabled parking.”
   d. www.orbitz.com - This website does not identify or allow for booking of accessible rooms
      and provides insufficient information regarding accessible features in the rooms or the
      hotel.
   e. www.priceline.com - This website does not identify or allow for booking of accessible
      rooms and provides insufficient information regarding accessible features in the rooms or
      the hotel other than the statements “Accessible rooms/facilities” and “Handicapped
      rooms/facilities”.
   f. www.agoda.com – This website does not identify or allow for booking of accessible rooms
      and provides insufficient information regarding accessible features in the rooms or the
      hotel other than the statements “Facilities for disabled guests”.


       13.        In the near future, Plaintiff intends to revisit Defendant's websites and/or online

reservations system in order to test them for compliance with 28 C.F.R. Section 36.302(e) and/or

to utilize the websites to reserve a guest room and otherwise avail herself of the goods, services,

features, facilities, benefits, advantages, and accommodations of the Property.

   14. Plaintiff is continuously aware that the subject websites remain non-compliant and that it

       would be a futile gesture to revisit the websites as long as those violations exist unless she

       is willing to suffer additional discrimination.

       15.        The violations present at Defendant's websites infringe Plaintiff's right to travel free

of discrimination and deprive her of the information required to make meaningful choices for

travel. Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of
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the discriminatory conditions present at Defendant's website. By continuing to operate the websites

with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

privileges and/or accommodations available to the general public. By encountering the

discriminatory conditions at Defendant's website, and knowing that it would be a futile gesture to

return to the websites unless she is willing to endure additional discrimination, Plaintiff is deprived

of the same advantages, privileges, goods, services and benefits readily available to the general

public. By maintaining a websites with violations, Defendant deprives Plaintiff the equality of

opportunity offered to the general public. Defendant's online reservations system serves as a

gateway to its hotel. Because this online reservations system discriminates against Plaintiff, it is

thereby more difficult to book a room at the hotel or make an informed decision as to whether the

facilities at the hotel are accessible.

        16.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

of the Defendant’s discrimination until the Defendant is compelled to modify its websites to

comply with the requirements of the ADA and to continually monitor and ensure that the subject

websites remains in compliance.

        17.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination

from the Defendant’s non-compliance with the ADA with respect to these websites. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in violation

of the ADA by the Defendant.

        18.     The Defendant has discriminated against the Plaintiff by denying her access to, and

full and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject website.
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          19.   The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the ADA as requested

herein.

          20.   Defendant has discriminated against the Plaintiff by denying her access to full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

of its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et

seq. and 28 CFR 36.302(e). Furthermore, the Defendant continues to discriminate against the

Plaintiff, and all those similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all offered goods,

services, facilities, privileges, advantages or accommodations to individuals with disabilities; and

by failing to take such efforts that may be necessary to ensure that no individual with a disability

is excluded, denied services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services.

          21.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

          22.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to alter the subject websites

to make them readily accessible and useable to the Plaintiff and all other persons with disabilities

as defined by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such time

as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:
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a. The Court issue a Declaratory Judgment that determines that the Defendant at the

   commencement of the subject lawsuit is in violation of Title III of the Americans with

   Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

b. Injunctive relief against the Defendant including an order to revise its websites to comply

   with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain the

   websites to ensure that it remains in compliance with said requirement.

c. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

   the Americans with Disabilities Act.

                                          Respectfully Submitted,
                                          /s/Suzette M. Marteny Moore
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